Case 1:24-cv-03453-JGK Document146 Filed 07/08/24 Pagelof3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

LEADENHALL CAPITAL PARTNERS LLP, ET
AL.,
24-cv-3453 (JGK)
Plaintiffs,
ORDER

- against -
JOSH WANDER, ET AL.,

Defendants.

JOHN G. KOELTL, District Judge:

Upon the Complaint by Plaintiffs Leadenhall Capital Partners
LLP and Leadenhall Life Insurance Linked Investments Fund PLC
(together, “Leadenhall”); the accompanying declarations of Craig
Gillespie, Phil Kane, Luca Albertini, and Leigh M. Nathanson; and
the Memorandum of Law in Support of Plaintiffs’ Application for a
(i) Temporary Restraining Order, and (ii) a Receivership or,
Alternatively, a Preliminary Injunction, it is ordered, that
Defendants 777 Partners LLC, 600 Partners LLC, SPLCSS III LLC,
Dorchester Receivables TI LLC, Signal SML 4 LLC, and Insurety
Agency Services LLC (together, the “Borrowers and Guarantors”) are
hereby subject to the following preliminary injunction:

Pursuant to Federal Rule of Civil Procedure 65, and based on
the findings of fact and conclusions of law stated on the record
on June 7, 2024, ECF No. 128, the Court finds that the Temporary
Restraining Order previously entered, ECF No. 114, should be

issued as a preliminary injunction. The Court enters a preliminary

Case 1:24-cv-03453-JGK Document146 Filed 07/08/24 Page2of3

injunction that, other than in the normal and ordinary course of
business:

(A) prohibits selling, transferring, converting, pledging, or
encumbering the assets pledged as collateral by the Borrowers to
Leadenhall under the Loan and Security Agreement dated May 7,
2021;

(B) to the extent the value of the assets pledged as
collateral by the Borrowers to Leadenhall is less than the full
amount of the Accelerated Debt, prohibits the expenditure or
dissipation of any cash or cash equivalents owned by the Borrowers
and Guarantors sufficient to cover the full amount of the
Accelerated Debt;

(C) to the extent the value of (i) the assets pledged as
collateral by the Borrowers, plus (ii) the value of any cash or
cash equivalents owned by the Borrowers and Guarantors is
insufficient to cover the full amount of the Accelerated Debt,
prohibits the expenditure or dissipation by the Borrowers and
Guarantors of any cash or cash equivalents received from any sale
or transaction up to the full amount of the Accelerated Debt;

(D) prohibits the Borrowers and Guarantors from taking any
action to dissipate the value of their assets, including by
transferring assets to any Defendant;

(E) requires the Borrowers and Guarantors to provide notice

to Leadenhall, ING Capital LLC, National Founders LP, Haymarket

Case 1:24-cv-03453-JGK Document146 Filed 07/08/24 Page3of3

Insurance Company, and ACM Delegate LLC of any attempt by any
Defendant to foreclose on, repossess, or exercise remedial actions
against the assets of the Borrowers and Guarantors and/or prevent
any Defendant from foreclosing on, repossessing, or exercising
remedial actions against the assets of the Borrowers and
Guarantors.

SO ORDERED.

Dated: New York, New York co 2 e C
July 8, 2024 tA’ C/ EP

\ gohn G. Koeitl
United States District Judge

